Case 4:05-cr-00198-SDJ-KPJ            Document 442        Filed 12/20/13      Page 1 of 1 PageID #:
                                             1233




 UNITED STATES DISTRICT COURT                                 EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                          §
                                                   §
 versus                                            §    CRIMINAL ACTION NO. 4:05-CR-198
                                                   §
 ADAM WYATT (14)                                   §

                  MEMORANDUM ADOPTING REPORT AND
          RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

          Came on for consideration the above-referenced criminal action, this Court having heretofore

 referred the request for the revocation of Defendant’s supervised release to the United States

 Magistrate Judge for proper consideration. Having received the report of the United States

 Magistrate Judge pursuant to its order, and having received Defendant’s waiver of right to object and

 waiver of right to be present and speak at sentencing, this Court is of the opinion that the findings

 and conclusions of the Magistrate Judge are correct, and adopts same as the findings and conclusions

 of the Court. It is therefore,

          ORDERED that the Magistrate Judge's Report is ADOPTED as the opinion of the Court.

 It is further

          ORDERED that Defendant’s supervised release is hereby REVOKED. It is further

          ORDERED that Defendant is sentenced to a term of imprisonment of twelve (12) months

 and one day with no supervised release to follow. It is also recommended that Defendant be housed

          .
 in the Bureau of Prisons, Seagoville Unit.
         SIGNED at Beaumont, Texas, this 7th day of September, 2004.
          SIGNED at Beaumont, Texas, this 20th day of December, 2013.




                                             ________________________________________
                                                         MARCIA A. CRONE
                                                  UNITED STATES DISTRICT JUDGE
